878 F.2d 1430Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lamar PERRYMAN, Plaintiff-Appellant,v.Raymond M. MUNCY, Patrick Henry, Superintendent,Correctional Unit, Defendants-Appellees.
    No. 89-7042.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 18, 1989.Decided July 5, 1989.
    
      Lamar Perryman, appellant pro se.
      Before WIDENER and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Lamar Perryman appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action for failure to demonstrate administrative exhaustion.  Acting pursuant to 42 U.S.C. Sec. 1997e, the district court ordered appellant to exhaust administrative remedies and to advise the court within 100 days of the result of the administrative proceedings.  It warned appellant that failure to advise the court regarding exhaustion would result in dismissal of the action.  The district court dismissed the case without prejudice upon expiration of the 100 day period, appellant not having complied with its order.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. Sec. 1997e.  Its dismissal of the action, without prejudice, when appellant failed to comply with its order was not an abuse of discretion.  We therefore affirm the judgment below.*   Perryman's motion for release pending appeal is moot;  therefore, it is denied.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      3
      AFFIRMED.
    
    
      
        *
         We note that Perryman must first present his federal habeas corpus claims to the district court before he may appeal any disposition of those claims.  Should Perryman decide to refile this suit, he should submit documentation demonstrating exhaustion to the district court
      
    
    